











Opinion issued August 15, 2008




&nbsp;






In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00634-CR
____________

IN RE REVAT R. VARA, Relator




Original Proceeding on Petition for Writ of Mandamus



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed in this Court a pro se petition for writ of mandamus  asking
that we order respondent


 to file an appellate brief for an appeal pending in this court.
We deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Chief Justice Radack, and Justices Keyes and Higley. 
Do not publish.  Tex. R. App. P. 47.2(b).


